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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION




  GLENN LEONARD et al.,
                                                  CR 20–99–M–DLC
                        Plaintiffs,

         vs.                                       ORDER

  UNITED STATES OF AMERICA et
  al.,

                        Defendants.

      Before the Court is Plaintiffs’ Unopposed Motion to Dismiss Action with

Prejudice. (Doc. 5.) Plaintiffs advise the Court that they have reached a settlement

in this matter. (Id.)

      IT IS ORDERED that the Motion (Doc. 5) is GRANTED. This case is

DISMISSED with prejudice.

      DATED this 29th day of July, 2020.




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